     Case 3:20-mj-03799-BLM Document 1 Filed 09/08/20 PageID.1 Page 1 of 4




SEALED                       UNITED STATES DISTRICT     COURT

                          SOTITBERN DTSTRICT OF CALTEORNIA

                         ARREST OE OTIT-OF-DISTRICT OFFtsNSE

                                             CASE NUMBER:        20-MJ-3799
 The person charged as FRANCISCO OROZCO now appears before this
 United States District Court for an initial appearance as a
 resuLt of the following charges havj-ng been filed in the United
 States District Court for the Dlstrict of Utah, Centra] Division
 with:
 Title 18 USC s22(ql (tl   - Un1awful Transport of Firearms and
 Eel-on in Possession of a Firearm and Criminal Forfeiture. The
 chargj-ng documents and warrant for the arrest of the defendant,
 which was issued by the above United States District Court, are
 attached hereto. I hereby swear under penalty of perjury that
 the foregoing is true and correct to the best of my knowledge,
 i-nf ormation and belief.

 DATE D :     0
                                                                    (signature)
                                          SA Yol-anda Lo     a          (print   )


 Reviewed and Approved

 Dated:           t   2oLd
                                           (signature    )


                  hANtFT K. GREENE         (print   )
 As s i   stant United States Attorney
                    Case 3:20-mj-03799-BLM Document 1 Filed 09/08/20 PageID.2 Page 2 of 4

                     Caco 2'1O-.i-OO??/-CW n^.Imant 2 *atrAl                         trn* trilad ne/rol1 O                O2rra 1
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                                           United States District Court
SEALED                                                                  for the
                                                               District of Utrb

                  UNITED STATES OF AMERICA

                                                                                            Case No: 2: l9-cr-00334-001 CW

                              Orozco


                                                      ARRESTWARRANT
To:      The United States Marshal
         and any authorized law erforceme omcer




YOU ARE HEREBY COMMANDED to arrest and bring before a United States magistratejudge withorn unnecessary delay (name ofperson
to be arresled)      FRANCISCO OROZCO
vrto is accused ofan offense or violation based on the following document filed with the court:

 x    Indictment       E      Supe$eding lndictment                     lnformation                I   Superseding lnformation

                                                                        violation Notic€           E   Pmbation violation Petition
                       !      complaint         Order ofcoun

                       !Supervised Release Violation Peiition
This ofens€ briefly
           is       described as follows:

UM,AWFUL TRANSPORT OF FIREARIYIS, ETCJFelon in                                       Possession of a Firearm and                 Criminal
Forfeiture




in violstion   of    t8:          I                                                                                                       United States Code

 D. Mark Jones
Name of lssuing                                                                    ing   officlr

                                                                                  29 2019 at Salt Lake C           Utah
                                                                            and Locataon


B!:       Jennifer Richards
          Deputy Clerk



Bail fixed                                                      b.".,
                                                                                                           Name of J'rdicial Omcer

                                                                        RETURN

This warrant was rec€ived and execr.rted with the arresl of thc above-named defetrdant at



 DATE R,ECEIVED               NAME AND TITLE OF ARR.ESTING              SIGNATURE OF ARRESTING OFFICER
                              OFFICER



 DATE OF ARREST
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JOHN W. HUBER, United States Attomey (#7226)                       SDI
JOSHUA BROTHERTON, Special Assistant United States Attomey
Attomeys for the United States of America
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Office of the United States Attorney                           aBrRb
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                                                              ;:-,pt
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                                                                          tt k
Email: joshua.brotherton@usdoj.gov

                      IN TI{E TINITED STATES DISTRTCT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA.                   I}TDICTMENT

        Plaintiff,                            VIOLATION:
                                              Count I: l8 U.S.C.$ 922(g)(l), Felon in
        VS                                    Possession of a Fireann

  FRANCISCO OROZCO,
                                              Case: 2:19-cr-00334
        Defendant.                            Assigned To : Waddoups, Clark
                                              Assign. Date : 812912O19
                                              Description :
      The Grand Jury Charges:

                                      COUNT I
                                18 U.s.C. $ e22(gxl)
                           @elon in Possession of a Firearm)

      Beginning on a date unknown to the Grand Jury, and continuing through on or

about May 30,2019, in the Cental Division of the    Distict of Utah,

                                   FRANCISCO OROZCO,

defendant herein, knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed a firearnL to   wit   a


Derringer 9mm pistol, and the firearm was in and affecting cornmerce; all in violation    of

l8 u.s.c.   $ e22(g)(1).
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            Case 2:19-cr-00334-CW Document                  1    Filed OBl29l79 Page 2 of 2




                       NOTICf, OF INTENT TO SEpK X'ORX'ErrURE

       Pursuant to   l8 U.S.C.     $ 924(d) and 28 U.S.C. $ 2461(c), upon conviction     ofan offense

alleged herein in violation   of   18 U.S.C. $$ 922 and/or 924 andJor    21U.S.C. $ 841, the defendant

shall forfeit any firearms and ammunition involved in or used in the commission of the offense,

including, but not limited to:     a   Derringer 9mm pistol and sssociated ammunition.




                                                            A TRUE BILI-:



                                                                         +
                                                            FO                   GRAND JURY


JOHN W. HUBER
United States Attomey



             (

         Assistant United States Attorney




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